
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 1st of December 2017 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to *585the North Carolina Court of Appeals: the notice of appeal is
"Retained by order of the Court in conference, this the 1st of March 2018."
Upon consideration of the petition filed on the 1st of December 2017 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 1st of March 2018."
